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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

DAVID G. FEINBERG, et al., and all
’ others similarly situated,

Civil Action File No.:
Plaintiffs, 1:17-cev-427
Vv.
T. ROWE PRICE GROUP, INC., et al.,

Defendants.

 

ORDER GRANTING PLAINTIFFS’ UNOPPOSED OMNIBUS MOTION FOR CLASS
CERTIFICATION, AMENDMENT OF COMPLAINT, AND APPROVAL OF JOINT
STIPULATION TO CLASS CERTIFICATION, AMENDMENT OF COMPLAINT, AND
DISMISSAL OF CERTAIN INDIVIDUAL DEFENDANTS

Upon consideration of Plaintiffs’ motion and supporting materials it is hereby
ORDERED:

(1) Plaintiffs’ motion is GRANTED.

(2) Plaintiffs’ proposed Second Amended Complaint is DEEMED FILED on May 1,
2019, the date Plaintiffs filed their motion. The Clerk SHALL DOCKET ECE No. 77-1 as the
Second Amended Complaint.

(3) The parties’ Joint Stipulation to Class Certification, Adjudication of Plaintiffs’
Claims on a Class Basis, Amendment of Complaint, and Dismissal without Prejudice of Certain
Individual Defendants is hereby APPROVED. Individual Defendants Christopher D. Alderson,
Edward C. Bernard, Michael C. Gitlin, James A. C. Kennedy, John D. Linehan, Brian C. Rogers,

William J. Stromberg, Eric L. Veiel, and Edward A. Wiese are thereby dismissed without

prejudice.
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(4) Upon consideration of the aforementioned Joint Stipulation and Plaintiffs’ brief in
support of class certification, this action is certified as a class action pursuant to Fed. R. Civ. P.
23(b)(1) for a class defined as follows:

All participants in the T. Rowe Price U.S. Retirement Program who had a balance

in their plan account at any time from February 14, 2011 through the date of

judgment. Any individual Defendants, any members of the T. Rowe Price Board

of Directors, the Management Committee, the Management Compensation

Committee, and their beneficiaries and immediate families are excluded from the
class.

Named Plaintiffs David G. Feinberg, Regina Widderich, Jitesh Jani, Sital Jani, James
Collins, Farrah Qureshi, Daniel Newman, Maria Stanton, Daniel Fialkoff, Michelle Bourque, and
Thomas Henry are appointed class representatives.

McTigue Law LLP and its attorneys J. Brian McTigue and James A. Moore, and Cohen
Milstein Sellers & Toll PLLC and its attorneys Karen L. Handorf and Scott M. Lempert are
appointed as Class Counsel pursuant to Fed. R. Civ. P. 23(g)(1). Adam Farra is appointed as

local/liaison counsel for the Class

SO ORDERED.

Mee, (7, 2019

BY THE COURT:

OD pre Kh SABLE,

James K. Bredar
Chief Judge

 

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CERTIFICATE OF SERVICE

I hereby certify that on May 2, 2019, I electronically filed the foregoing with the Clerk of

the Court using the ECF system.

/s/ Scott M. Lempert
Scott M. Lempert

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